            Case 1:24-cv-04108-ALC                              Document 3-6                    Filed 05/30/24                  Page 1 of 7




                                                    SUMMONS • FOR CIVIL PENALTIES ONLY
                                                     SUMMONS NUMBER: 200020HR
                                   ENFORCEMENT AGENCY: Department of Consumer Affairs
                            AGENCY ADDRESS AND WEBSITE: 42 Broadway, New York, NY 10004 • nyc.gov/dca

 RESPONDENT:                         Benjamin S. Lamb                                     DBA:
 MAILING ADDRESS:                    1833 AMSTERDAM AVE, APT 1E                           LICENSE NO.:            1071492-DCA
                                     NEW YORK, NY 10031                                   EXPIRATION
                                                                                          DATE:                   02/28/2020

                                                                                          PHONE:

 PLACE OF                                                                                 DATES OF                10/28/19 and 11/10/19
 OCCURRENCE:                                                                              OCCURRENCE:
  X Same as mailing address
 ☐ Intersection                                                                           TIME OF
 ☐ Landmark                                                                                                       N/A
                                                                                          INSPECTION:

                       You must respond to this Summons by appearing at the hearing (date and location below).


                                 HEARING DATE: March 5, 2020 AT: 10:30 AM
                         HEARING LOCATION: Office of Administrative Trials and Hearings
                                66 John Street, 11th Floor, New York, NY 10038
                                            PHONE: (844) 628-4692

                                   Refer to the Summons Number above on all communications.
Warning: If you do not respond, the City of New York will decide the Summons against you and impose penalties.
If you do not pay any imposed civil penalty, the City could deny an application for, suspend, terminate, or revoke any
City license, permit, or registration that you have. The City may also enter a judgment against you in court.

                                                                 Details of Violation(s)
                                                                                        MAXIMUM                        MAXIMUM
                                                                     NUMBER OF        PENALTY PER                     PENALTY PER             RESTITUTION
                       VIOLATION(S)
                                                                     VIOLATIONS         VIOLATION                      VIOLATION                SOUGHT
                                                                                       AT HEARING                     ON DEFAULT
      Rules of the City of New York, Title 6,                               2            $750.00                        $1,000.00                    n/a
      Section 2-236(a)




                                    SEE SUPPLEMENT FOR ADDITIONAL DETAILS OF VIOLATION(S).

NYC Charter Sections 1048 and 1049-a and the Rules of the City of New York authorize the NYC Office of Administrative Trials and Hearings (OATH) to hold hearings.
For hearing options, see the last page of this Summons.




                                                                                1
      Case 1:24-cv-04108-ALC            Document 3-6         Filed 05/30/24       Page 2 of 7
                                  SUMMONS NUMBER: 200020HR


                               SUPPLEMENT: DETAILS OF VIOLATION

                                               FACTS

 1.   Respondent is a process server individual licensed by the New York City Department of
      Consumer Affairs (“DCA” or the “Department”).

 2.   In or about 2018, process was distributed to Respondent for service in the matter of Mamadou
      Alpha Ly v. Abdoulaye Bah, LT-006805-19/BX (Civil Court of the City of New York, Bronx Co.,
      Housing Part) (“Ly v. Bah”) and thereafter an affidavit of service executed by Respondent in
      which Respondent attested that Respondent had served such process in Ly v. Bah was filed with
      the clerk of the court.

 3.   The court in Ly v. Bah scheduled a traverse hearing for October 18, 2019 concerning the service
      of process allegedly made by Respondent.

 4.   Respondent received notice of the scheduling of the October 18, 2019 traverse hearing in Ly v.
      Bah.

 5.   Respondent did not submit a written report to the Department, by certified mail or e-mail, that
      a traverse hearing had been scheduled in Ly v. Bah within ten (10) days of receiving notice of the
      scheduled October 18, 2019 hearing.


 6.   The court in Ly v. Bah scheduled a traverse hearing for October 31, 2019 concerning the service
      of process allegedly made by Respondent.


 7.   Respondent received notice of the scheduling of the October 31, 2019 traverse hearing in Ly v.
      Bah.


 8.   Respondent did not submit a written report to the Department, by certified mail or e-mail, that
      a traverse hearing had been scheduled in Ly v. Bah within ten (10) days of receiving notice of the
      scheduled hearing.


                                        APPLICABLE LAW

9.    Under Title 6 of the Rules of the City of New York (“6 RCNY”) § 2-236(a) whenever an individual
      process server receives notice that a court has scheduled a hearing to determine whether
      service of process made by the process server was effective (known as a “traverse hearing”), the
      process server must submit, by certified mail or e-mail, a written report to the Department
      within ten (10) days of receiving such notice. The written report must include the title and index
      number of the action, the court and the judge before whom the hearing is scheduled, the
      date(s) of the hearing, and the name and license number of every licensee who effected service
      or assigned or distributed the process for service.


                                                  2
          Case 1:24-cv-04108-ALC            Document 3-6          Filed 05/30/24      Page 3 of 7
                                      SUMMONS NUMBER: 200020HR


                                             VIOLATIONS CHARGED

1.        Respondent violated 6 RCNY Section 2-236(a) by failing to comply with his duty to report the

October 18, 2019 hearing contesting service.

2.        Respondent violated 6 RCNY Section 2-236(a) by failing to comply with his duty to report the

October 31, 2019 hearing contesting service.


                                                 RELIEF SOUGHT

     1.   In light of the foregoing, the Department seeks the following relief:

              a. a fine of $1,500 (i.e., $750 per violation for two violations), the maximum available at

                  hearing; or

              b. in the event of Respondent's default, a fine of $2,000 (i.e., $1,000 per violation for two

                  violations);


     2.   Other relief deemed just and proper.



          Dated: February 12, 2020                 For:    LORELEI SALAS, COMMISSIONER
                 New York, New York
                                                           By:




                                                           __________________________
                                                           Mitchell B. Nisonoff, Esq.
                                                           Assistant General Counsel
                                                           Attorney for Petitioner Department of
                                                           Consumer Affairs




                                                       3
       Case 1:24-cv-04108-ALC             Document 3-6         Filed 05/30/24       Page 4 of 7
                                    SUMMONS NUMBER: 200020HR



                                                 CERTIFICATION

        I certify that I am an employee of DCA and that the foregoing is true and correct based on my
personal knowledge and a review of DCA’s official records. I also certify that I today undertook a search
of Respondent’s submitted traverse reports in DCA’s records and found none corresponding to the
underlying case which is the subject of this Summons.

Dated: February 12, 2020
       New York, New York
                                                         _________________________________
                                                         Christopher Forbes
                                                         Senior Legal Staff Associate
                                                         Department of Consumer Affairs




                                                    4
         Case 1:24-cv-04108-ALC                   Document 3-6             Filed 05/30/24            Page 5 of 7
                                           SUMMONS NUMBER: 200020HR


                                            IMPORTANT INFORMATION

The Department of Consumer Affairs (DCA) has charged you with the violation(s) described in this Summons.

         Penalties:
    •    Maximum penalties for the violations in this Summons may include a fine of as much as $500 for each violation;
         revocation or suspension of your DCA license; and/or the sealing of your business premises. In most cases, the
         penalty for unlicensed activity is $100 per violation per day and you will be presumed to have engaged in the
         unlicensed activity every day from the date of the inspection, the date of a prior decision or settlement agreement,
         the date of your contract with a consumer, or the first date you advertised services through the hearing date. Copies
         of the laws and rules, which include the maximum penalties for specific violations, are available on the DCA website
         nyc.gov/consumers.
    •    Higher penalties may be imposed for repeated violations up to the maximum penalty allowed by law or rule.

         Unlicensed Activity: If you are charged with unlicensed activity, you should immediately:
    •    Stop the unlicensed activity.
    •    Apply for a license online at nyc.gov/BusinessToolbox or in person at the DCA Licensing Center (42 Broadway, Lobby,
         New York, NY 10004) or NYC Small Business Support Center (90-27 Sutphin Blvd, 4th Floor, in Jamaica, 11435).
         Important: Even if you apply for a license or obtain a license before the hearing date, you still must settle the
         charge(s) or appear for the hearing on the hearing date.

         You may present a defense at the independent NYC Office of Administrative Trials and Hearings (OATH) by going to a
                  hearing. Instructions are below.

         If you do not settle or appear for your hearing, a default decision may be entered against you and additional
                   penalties may be imposed.

         DCA encourages business owners to view the Business Owner’s Bill of Rights, available at nyc.gov/bizrights.


                                                     HOW TO RESPOND

         To settle the charge(s) prior to the hearing:
    •    If you wish to discuss a settlement before the hearing date, you may contact Mitchell Nisonoff at (212) 436-0077
         or by email at

         To deny the charge(s) and present a defense in person:
    •    You or an authorized representative must go on the hearing date at the time and location indicated on the first page
         of this Summons.
    •    Please be fully prepared and bring this Summons and all paperwork and other evidence you want to use to defend
         yourself with you.
    •    If you need help with English, free language help will be provided.
    •    Reasonable Accommodation: If you have a disability and require a reasonable accommodation for the hearing, call 1-
         844-628-4692.


Note: You have the right to be informed of the maximum penalty. If no maximum penalty is shown on the front of this Summons,
ask in person at any location below or call 1-844-628-4692.

                                                   OATH HEARINGS CENTERS
                                    Tel: 1-844-OATH-NYC (1-844-628-4692) • nyc.gov/oath
              Manhattan: 66 John Street, 10th Floor, New York, NY 10038
              Brooklyn: 9 Bond Street, 7th Floor, Brooklyn, NY 11201
              Queens: 144-06 94th Avenue, Main Floor, Jamaica, NY 11435
              Bronx: 3030 Third Avenue, Room 250, Bronx, NY 10455
              Staten Island: 350 St. Mark’s Place, Main Floor, Staten Island, NY 10301


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                Case 1:24-cv-04108-ALC            Document 3-6          Filed 05/30/24         Page 6 of 7




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         ,               Charnetta Pettie                    
                                                        RIWKH     General Counsel        'LYLVLRQRIWKH1HZ<RUN

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     ✔     5       3DJH      Benjamin S. Lamb Summons Number 200020HR                 'DWHG         2/12/2020

                   3DJH                                                               'DWHG

                   3DJH                                                               'DWHG



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     Benjamin S. Lamb




     ✔   Tracking/Receipt Number(s): 7019 2280 0000 7844 6897


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               2/12/2020 Charnetta Pettie
Printed Name                                                           Signature
             Case 1:24-cv-04108-ALC     Document 3-6       Filed 05/30/24     Page 7 of 7




Lorelei Salas           Date:   March 4, 2020
Commissioner
                        To:     OATH - Office of Administrative Trials and Hearings
42 Broadway             CC:     Benjamin S. Lamb
9th Floor
New York, NY 10004

nyc.gov/consumers
                        Re:     NOTICE OF WITHDRAWAL – Summons 200020HR
Office of the General
Counsel

                        NYC Department of Consumer Affairs withdraws Summons 200020HR –
                        DCA v. Benjamin S. Lamb.




                        ________________________________
                        Signature

                        Christine Santos
                        ________________________________
                        Print

                        Legal Project Coordinator
                        ________________________________
                        Title
